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            EXHIBIT B
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·1· · · · · · SUPERIOR COURT OF THE STATE OF CALIFORNIA

·2· · · · · · · · · · · COUNTY OF SANTA CLARA

·3· · · · · · BEFORE THE HONORABLE MARY E. ARAND, JUDGE

·4· · · · · · · · · · · · DEPARTMENT NO. 9

·5· · · · · · · · · · · · · · ·--o0o--

·6
· ·   · PALANTIR TECHNOLOGIES, INC.,
·7
· ·   · · · · · · · · ·Plaintiff,
·8
· ·   · VS.· · · · · · · · · · · · · · · ·CASE NO. 16CV299476
·9
· ·   · MARC L. ABRAMOWITZ,
10
· ·   · · · · · · · · ·Defendant.
11
· ·   · ______________________________/
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· · · · · · · · · · · TRANSCRIPT OF PROCEEDINGS
14· · · · · · · · · · · ·February 13, 2018

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16· · APPEARANCES:

17

18·   ·For the Plaintiff:· · BOIES SCHILLER FLEXNER, LLP
· ·   · · · · · · · · · · · ·BY:· JOHN T. ZACH, ATTORNEY
19·   · · · · · · · · · · · · · · DAVID ZIFKIN, ATTORNEY
· ·   · · · · · · · · · · · · · · JUAN VALDIVIESO, ATTORNEY
20

21·   ·For the Defendant:· · SKADDEN, ARPS, SLATE, MEAGHER & FLOM
· ·   · · · · · · · · · · · ·BY:· ALLEN RUBY, ATTORNEY
22·   · · · · · · · · · · · · · · WILLIAM J. CASEY, ATTORNEY
· ·   · · · · · · · · · · · · · · JACK P. DICANIO, ATTORNEY
23

24

25

26· ·Official Reporter:· · TALTY COURT REPORTERS, INC.

27· · · · · · · · · · · · ·Cambria Denlinger, CSR 14009

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·1· ·San Jose, California· · · · · · · · · · ·February 13, 2018
·2· · · · · · · · · · · · · PROCEEDINGS:
·3· · · · · · ·THE COURT:· Appearances, please.
·4· · · · · · ·MR. ZACH:· Good morning, your Honor.· John Zach
·5· · and David Zifkin from Boies Schiller on behalf of
·6· · Plaintiff.
·7· · · · · · ·MR. RUBY:· Good morning, your Honor.· Allen
·8· · Ruby, Jack DiCanio, and William Casey here for
·9· · defendants.
10· · · · · · ·THE COURT:· And you are?
11· · · · · · ·MR. VALDIVIESO:· Juan Valdivieso from Boies
12· · Schiller and Flexner on behalf of Palantir.
13· · · · · · ·THE COURT:· One lawyer on each side.
14· · · · · · ·So reading through this motion, there were a
15· · couple of things in it that I think are not entirely
16· · accurate with the law in that they do not need to prove
17· · that they have a trade secret to do a trade secret
18· · disclosure.· They're just doing this to let you know
19· · that what they claim their trade secret to be.
20· · · · · · ·Secondly, the Court doesn't look at whether the
21· · trade secret is a trade secret, for example, by
22· · examining whether or not it's in the public domain or
23· · not.· So that's not a relevant factor in this.· The only
24· · question for the Court is whether the trade secret
25· · adequately describes the trade secret so we can move
26· · forward in the case and do discovery on it.
27· · · · · · ·Now, one thing I think Plaintiff's counsel
28· · needs to be aware is the trade secret is it.· So if you
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·1· · later tried to expand on what you claim your trade
·2· · secret to be, you're kind of stuck with what's in this.
·3· · Do you understand that?
·4· · · · · · ·MR. ZIFKIN:· I do understand that, your Honor.
·5· · There is case law that there has to be good cause to
·6· · amend, of course, but we understand that this is our
·7· · discloser obligation, and that we're moving it to the
·8· · Court.
·9· · · · · · ·THE COURT:· So, Mr. Ruby, you want to comment
10· · on that?· This is not a source code case, so they don't
11· · need to disclose source code.· I've been told source
12· · code is not at issue.· So in what ways do you think this
13· · disclosure is inadequate?· And I know that trade secrets
14· · can include compilations and that sort of thing, which
15· · is kind of what it looks like to me your trade secret
16· · is.· Is that a fair statement?
17· · · · · · ·MR. ZIFKIN:· That's fair.
18· · · · · · ·THE COURT:· So, Mr. Ruby.
19· · · · · · ·MR. RUBY:· Your Honor, I appreciate the Court's
20· · guidance as it said about what they do and do not need
21· · to do.· From a practical standpoint, this report of the
22· · disclosure discloses nothing.· It uses buzz words.
23· · Everything is a concept and a system and a compilation.
24· · There are plenty of those and according to the purported
25· · disclosure, it works great.· Everybody would want one or
26· · more, but it doesn't tell us anything to allow us to
27· · defend the case as the statute contemplates we're
28· · entitled to defend it.
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·1· · · · · · ·THE COURT:· Can I ask what they would need to
·2· · do for it to be an adequate trade secret disclosure in
·3· · the context of what they're claiming here?
·4· · · · · · ·MR. RUBY:· Sure.· A trade secret disclosure --
·5· · let me use a phrase that's not classically a legal
·6· · phrase, but it's useful in this.· The trade secret
·7· · disclosure needs to tell us, as the defendant, what the
·8· · special sauce is.· You know, it can't be conclusory, and
·9· · can't say it allows the calculation of insurance
10· · premiums based on such and such.
11· · · · · · ·Well, that's actually a conclusion that that's
12· · what it does, but it doesn't say that's what makes it a
13· · trade secret.· Is it that this product allows people to
14· · do things blindfolded?· Or to do it with less human
15· · resources?· Or to do it quicker as shown by such and
16· · such?
17· · · · · · ·Could I invite the Court, please, if it has the
18· · disclosure up there with it --
19· · · · · · ·THE COURT:· I'm looking for it.· It's in here
20· · somewhere.
21· · · · · · ·MR. ZIFKIN:· I have an additional copy if you
22· · want.
23· · · · · · ·THE COURT:· I've got it right here.
24· · · · · · ·MR. ZIFKIN:· The one thing I would ask, your
25· · Honor, is that if counsel -- again, we filed this under
26· · seal, and the parties have agreed that pursuant to the
27· · Court's issuing a protective order that it will be
28· · maintained as being confidential.· So I would ask that
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·1· · he not read it out loud, but he, sort of, can summarize
·2· · it more abstractly.· I think that's sort of -- we have
·3· · to try to maintain its secrecy.· I understand he has to
·4· · make his argument.· I want to let him to do that however
·5· · he can, but I would like to avoid him just reading it
·6· · wholesale.· Directing the Court's attention to it is
·7· · probably fine.
·8· · · · · · ·MR. RUBY:· I'm not trying to take a cheap shot
·9· · by getting into the trade secret.· The whole point is,
10· · I'm trying to answer the Court's question by pointing
11· · out that there's no trade secret in here.
12· · · · · · ·Could I invite the Court, please, if it would,
13· · to, say, look at No. 4.· This is a pretty easy target --
14· · the whole thing -- but if we could look at No. 4
15· · describing something to do with insurance.· Are we
16· · looking at the same paragraph?
17· · · · · · ·There's apparently this product that does or
18· · allows for calculating risk and potential damages and
19· · premiums.· Apparently it's a tool for computing
20· · premiums.
21· · · · · · ·My point is, if you look at No. 4, that's what
22· · every insurance company since the beginning of time has
23· · done:· Looks at the risk; looks at the cost of a bad
24· · event, and allows for the computation of premiums.
25· · · · · · ·Well, that's fine.· That's describes, perhaps,
26· · a lawful business, but it's not a trade secret.· There's
27· · nothing about it that's secret; that's nothing that even
28· · gives a clue as to how it derives economic value from
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·1· · secrecy.
·2· · · · · · ·So getting back to your Honor's question a
·3· · minute ago, what would they have to do?· Well, if there
·4· · were a trade secret -- of course, we don't think there
·5· · is -- but if there were a trade secret that under lay
·6· · the item that's disclosed in No. 4, it would say What is
·7· · special about the way it does this?· What distinguishes
·8· · this purported tool from what insurance companies have
·9· · historically and always done in terms of setting
10· · premiums?· Look the risk, look at cost, look at pricing.
11· · That's what they say they're doing.
12· · · · · · ·And, your Honor, if the Court please, the same
13· · could be said for every single one of these 39 purported
14· · trade secrets.· These are generic descriptions.· So to
15· · use a more formal term "special sauce."· What a trade
16· · secret disclosure can't do, if it's to comply with the
17· · law, is to be generic, to be conclusionary, and generic.
18· · And that's all this is.
19· · · · · · ·If I were to -- counsel doesn't want me to so I
20· · won't read No. 4 into the record -- but --
21· · · · · · ·THE COURT:· I've just read it.
22· · · · · · ·MR. RUBY:· Sure.· And if No. 4 were to be
23· · published on the front page of the San Jose Mercury, so
24· · what?· What possible secret could be revealed or
25· · disclosed by No. 4?
26· · · · · · ·This trade secret purported disclosure was done
27· · carefully to give away no information.· Your Honor is
28· · well aware of the pulling and tugging that goes on in
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·1· · alleged trade secret claims.
·2· · · · · · ·THE COURT:· I would have been involved in those
·3· · cases, yes.
·4· · · · · · ·MR. RUBY:· And your Honor never pulled nor
·5· · tugged, I'm sure, but for the rest of us, we're doing
·6· · the best we can.· Your Honor is a fount of information,
·7· · I'm sure, but that's the exception.· And the statute
·8· · maybe doesn't require that degree of forthcomingness,
·9· · but it requires enough to let us defend.
10· · · · · · ·If this were the approved trade secret
11· · disclosure, not only are we handicapped in the defense,
12· · but let me go, if I could, to your Honor's advisement of
13· · the parties that the trade secret disclosure document,
14· · absent good cause or unusual circumstances, is what the
15· · plaintiff is stuck with.
16· · · · · · ·Well, when it's this broad, I mean -- again,
17· · use No. 4 for example.· If this were the allowed
18· · designated trade secret, it's broad enough to describe
19· · anything having to do with insurance rates set, isn't
20· · it?· This is a very, very big tent that they've created
21· · here, and that's not fair.· There's got to be some
22· · limitation that's part of the disclosure.· In other
23· · words, it has to limit what's disclosed to something
24· · that can be understood in a reasonable away, and they
25· · can impose boundaries as the litigation goes forward.
26· · Otherwise, all the battling that goes on now, as your
27· · Honor knows, just gets repeated at every stage.
28· · · · · · ·So, there are -- finally, if I may?· They
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·1· · say -- we don't necessarily agree with this -- but they
·2· · say, the trade secret -- their trade secrets -- are
·3· · disclosed in Mr. Abramowitz's patent applications.
·4· · · · · · ·THE COURT:· Those are public documents.
·5· · · · · · ·MR. RUBY:· That's what they say.· And we say,
·6· · which I think is pretty reasonable, if that were true --
·7· · that's what they say, okay.· One easy way to shortcut a
·8· · lot of this pulling and tugging would be for them to
·9· · extract specifically what it is that's in the patent
10· · application that they say describes their trade secret
11· · instead of dumping on the Court and everybody a big
12· · stack of patent applications, and say It's in there.
13· · We're assuring you it is.· Go find it.
14· · · · · · ·They say that it's disclosed in the patent
15· · applications.· It seems it would be a very small step
16· · for them, if that were true, to say Here's where it says
17· · X.· That describes one of our trade secrets.
18· · · · · · ·Why go to the trouble -- I think we know why --
19· · but why go to the trouble for a legitimate reason to
20· · create a parallel, or a different disclosure, which is
21· · as broad and generic as this if, according to them,
22· · there are public documents that already describes their
23· · trade secrets?
24· · · · · · ·MR. ZIFKIN:· I would address that in two ways.
25· · One is, at this stage, right, this is -- discovery's
26· · been stopped.· So the moment discovery starts, I expect
27· · I'm going to get an interrogatory from my colleague
28· · saying Please identify all parts of the patent
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·1· · application in which you identify which map on to this.
·2· · · · · · ·THE COURT:· Why don't you have them in here?
·3· · I'm not seeing something that says it's, quote, patent
·4· · application.
·5· · · · · · ·MR. ZIFKIN:· Because I don't think we have to
·6· · do that at this stage under the law.· We'll answer to
·7· · the interrogatory, that's going to be our obligation.
·8· · But moving beyond --
·9· · · · · · ·THE COURT:· I suspect I'll see a motion to
10· · compel on that one.· Let me just start with something I
11· · want to do in this case which is to set up a process
12· · where you are required to have an informal discovery
13· · conference before filing any motion to compel.· There's
14· · something new in the code about that that I've had in a
15· · few cases that I've adopted such a process, but now the
16· · code specifically allows me to.· There's a new code
17· · section that says that, so I'm going to require that for
18· · this case.
19· · · · · · ·So set it up by calling my clerk, and we'll do
20· · Friday at 10:00, something like that.· That will be make
21· · it easier for us to talk about trade secrets before
22· · motions to compel are filed.· So that's just a
23· · digression.
24· · · · · · ·MR. ZIFKIN:· That's great.· We really
25· · appreciate that, and I think we have pretty open
26· · dialogue between the sides anyway, so that would be
27· · good.
28· · · · · · ·So the point is, we -- the disclosure is
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·1· · sufficient enough to let them -- put them on notice to
·2· · make their defenses and to investigate the borderline of
·3· · whether or not these things are secrets or whether or
·4· · not they're generally known.· That's what we're entitled
·5· · to do.· That's --
·6· · · · · · ·THE COURT:· This is pretty general.· It has a
·7· · lot of words that don't necessarily, to me, say a lot.
·8· · And I think this doesn't disclose anything secret.· They
·9· · all start with proprietary business plan concepts this
10· · and that does this thing, but it doesn't tell anybody
11· · how it does those things.
12· · · · · · ·MR. ZIFKIN:· For the one that counsel pointed
13· · out, No. 4, that does map on to part of the patent
14· · application -- one of the patent applications that
15· · Mr. Abramowitz filed.· And in filing them,
16· · Mr. Abramowitz himself is claiming they're novel;
17· · they're not known.· Those concepts aren't things that
18· · are generally out there.· So I think he's on board with
19· · enough notice to understand that this --
20· · · · · · ·THE COURT:· So he's filed these patent
21· · applications.· He's, obviously, claiming he invented
22· · these things, so I think that you are under an
23· · obligation to tell him what things he claims he invented
24· · were in fact -- belonged to you.
25· · · · · · ·And so him having filed -- I don't think he's
26· · on notice if you simply say he could just look at his
27· · own patent applications.· I think you need to say what
28· · in his patent applications are concepts that belong to
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·1· · your client.
·2· · · · · · ·MR. ZIFKIN:· That's fair.· I want to be clear;
·3· · that's not what we're doing.· What we're also doing is
·4· · he -- counsel started off today arguing that, you know,
·5· · it's hard for him to understand this because it's filled
·6· · with buzz words.· The language to articulate these
·7· · secrets are too general.· We made a point of referring
·8· · to the patent applications in our papers to show that
·9· · these are the same words that are used in the patent.
10· · And the same words are used in these areas that they do,
11· · in fact -- can understand them.· They do understand what
12· · we are planning to be our secret, using this type of
13· · language, and that that's enough for them to move
14· · forward.
15· · · · · · ·That's why we did the side-by-side with the
16· · bold because, you know, they keep saying I don't
17· · understand what this means; this isn't specific enough,
18· · but it really does map on to what they're saying.
19· · · · · · ·THE COURT:· I do think Mr. Ruby has a point in
20· · that this looks like the universe of ideas, and I think
21· · you do have an obligation to narrow it down to something
22· · that is your trade secret and describe it more
23· · specifically, because this is so generic, it could
24· · include a whole, huge number of things.· And I think
25· · this document does need to do that narrowing in some
26· · respects.
27· · · · · · ·MR. ZIFKIN:· The one thing -- I mean, we
28· · respect the Court's opinion on that, obviously.· The one
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·1· · thing I'd like to point out is that it's not an all or
·2· · nothing sort of proposition.· He's pointing to one.
·3· · · · · · ·They had another one that they were able to
·4· · understand, No. 13, which was already publicly
·5· · disclosed.
·6· · · · · · ·THE COURT:· I don't think that's relevant for
·7· · this analysis, but in any event --
·8· · · · · · ·MR. ZIFKIN:· That's right.· But the point being
·9· · they're able to actually achieve the statutory goal that
10· · the trade secret law is in place to advance, and they
11· · can do that.· And I think the parties are able to line
12· · up discovery going forward.
13· · · · · · ·We're more than happy to answer that
14· · interrogatory when we get it, but I don't think it
15· · should be a way to delay discovery in the context of a
16· · protective order going forward.· That will delay the
17· · case; they're going to get that information anyway.· The
18· · disclosure is sufficient to meet the statutory bar at
19· · this very discrete stage -- early stage.
20· · · · · · ·MR. RUBY:· Well, I think counsel, respectfully,
21· · misunderstands what the legislature did here.· The
22· · legislature prescribed -- or requires the plaintiff in a
23· · trade secret case -- every plaintiff -- to do something
24· · before discovery starts.· And what the plaintiff needs
25· · to do is describe their trade secrets in a reasonable
26· · fashion -- I don't want to be repeating myself.· The
27· · idea that well, we're on notice.· That's a word that
28· · should give the Court some real pause.· This is not a
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·1· · matter of the notice pleading.· This is a special
·2· · statute for special purposes to allow defendants to have
·3· · some special protection in trade secret cases, and
·4· · that's a legislative judgment that these kind of cases
·5· · need that degree of protection.
·6· · · · · · ·The idea that somehow a defendant is on notice
·7· · of something distorts the burden here.· What -- this is
·8· · not a subjective test.· Well, yeah, but Mr. Abramowitz,
·9· · he probably understands this.· He probably understands
10· · that.· He can read the tea leaves.
11· · · · · · ·The statute isn't set up that way.· The statute
12· · is a uniform requirement requiring every plaintiff to
13· · lay out his or her trade secret in a reasonable way to
14· · allow the defense and the discovery to go forward.· So I
15· · think trying to shortcut that with the idea that
16· · somebody is on notice of something is not a helpful path
17· · to efficient litigation and doesn't harmonize, in my
18· · respectful opinion, of the statute.
19· · · · · · ·THE COURT:· Two minutes.
20· · · · · · ·MR. ZIFKIN:· So, you know, the standard is
21· · reasonable particularity.· And the reasonable
22· · particularity so they can go out and investigate the
23· · claims and prepare their defenses, and our disclosure
24· · actually does that.· We're not saying that
25· · Mr. Abramowitz should know or he shouldn't.· We think
26· · our disclosure is sufficient enough.· I do think it is
27· · telling that Mr. Abramowitz wasn't even shown this
28· · disclosure.· So they claim to not understand it, but
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·1· · they sort of -- they're clear in their papers that they
·2· · didn't bother to show it to him.· And it's important
·3· · because we're all working together to try to understand
·4· · these things so we can focus the litigation and make it
·5· · go efficiently.· It's because they know what the words
·6· · are and the language are because they really do map on
·7· · to the language used by Mr. Abramowitz, and I think our
·8· · disclosure is sufficient, and that they'll be able to
·9· · acquire the information they want once discovery starts,
10· · which should be immediately.· Thank you, your Honor.
11· · · · · · ·MR. RUBY:· I'll submit the matter, your Honor.
12· · · · · · ·THE COURT:· I think you need to make this more
13· · detailed.· I do think it's too general.· I think you
14· · need to -- and, no, I'm not going to take any more
15· · argument.· For example, I think you do need to point out
16· · where in the patent your trade secrets are found.· This
17· · does not do that.· I think you need to give -- the
18· · descriptions are so general it could apply to any number
19· · of things, and I think it needs to clearly lay out what
20· · your trade secrets are.· So I'm going to require you
21· · amend this, say, within 20 days.
22· · · · · · ·MR. ZIFKIN:· Can I propose one thing, your
23· · Honor?· I take their point; they want the specific
24· · citations to the patent applications.· We'll do that --
25· · · · · · ·THE COURT:· Not just that.· To the extent
26· · there's something broader in the patent applications, I
27· · think you need to lay it out here with more specificity
28· · than is found here.· In looking at this, I can't tell
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·1· · what your trade secret might be and how you go about
·2· · doing certain things to accomplish the things that are
·3· · here.· So I think it needs to be more specific.
·4· · · · · · ·MR. ZIFKIN:· Well, we will amended, your Honor.
·5· · The thing is, we would like to do this on an expedited
·6· · basis, because we are -- this case has been going on for
·7· · quite some time.· They tried to move to federal court,
·8· · and we got it sent back to your Honor.
·9· · · · · · ·THE COURT:· You know, that's something that
10· · defendants can do in cases like this.· And, yes, the
11· · federal court sent it back.· You can amend it anytime
12· · you want.· And I think you submitted an order.· I don't
13· · know if you have any comments on the order, but -- and I
14· · don't know if you want to modify the order, Mr. Ruby, or
15· · not but -- trying to find it.· The order staying
16· · discovery.
17· · · · · · ·MR. RUBY:· Your Honor, if the court please,
18· · rather than consume the Court's time this morning, I
19· · will recirculate a copy of the proposed order to
20· · counsel.· If they have comments, we'll try to work that
21· · out and present to the Court something we can agree on
22· · immediately, and if we can't, we'll submit competing
23· · orders.
24· · · · · · ·THE COURT:· So looking at your proposed order,
25· · it provides that all discovery shall be stayed until
26· · Palantir submits the disclosure that complies with
27· · Section 292.210.· That's a little bit vague.· Who makes
28· · the decision of whether they have complied?· Ultimately,
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·1· · it might be me, but when you get it, you need to -- I'm
·2· · going to expect you to communicate with them and say
·3· · this is enough to be going on to file another motion
·4· · immediately.· And I know it's tough to get hearing dates
·5· · with me.· This is something that maybe we can set on
·6· · Friday at 10:00 so we can have a little more complete
·7· · discussion.
·8· · · · · · ·MR. RUBY:· Understood.
·9· · · · · · ·MR. ZIFKIN:· That will be very helpful, your
10· · Honor, to the extent they're --
11· · · · · · ·THE COURT:· But I don't think it should be
12· · generic until it complies.· I think there needs to be
13· · some standard and who decides it and why.· If you think
14· · it's become adequate, then you need to just start
15· · doing -- allowing discovery to happen.
16· · · · · · ·MR. RUBY:· I understand, your Honor, and we'll
17· · work out some compliance order with your Honor.
18· · · · · · ·MR. ZIFKIN:· Thank you, your Honor.
19· · · · · · ·MR. RUBY:· Thank you.
20· · · · · · ·(Whereupon, the proceedings were concluded
21· · · · · · ·at 9:46 a.m.)
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23· · · · · · · · · · · · · · --oOo--
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·1· · · · · · · · · · ·REPORTER'S CERTIFICATE

·2

·3· · · ·STATE OF CALIFORNIA· · ·)

·4· · · · · · · · · · · · · · · ·)· SS.

·5· · · ·COUNTY OF SANTA CLARA· ·)

·6

·7· · · · · · ·I, CAMBRIA L. DENLINGER, do hereby certify that

·8· · the foregoing is a true and correct transcript of the

·9· · proceedings had in the above-entitled action held on the

10· · above-entitled date;

11· · · · · · ·That I reported the same in stenotype to the

12· · best of my ability being the qualified and acting

13· · Official Court Reporter of the Superior Court of the

14· · State of California, in and for the County of Santa

15· · Clara, and thereafter had the same transcribed into

16· · typewriting as herein appears.

17· · · · · · ·I further certify that I have complied with CCP

18· · 237 (a)(2) and that all personal juror identifying

19· · information has been redacted, if applicable.

20

21· · · · · · ·Dated this 13th day of February, 2018.

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26· · · · · · · · · · · · __________________________________
· · · · · · · · · · · · · CAMBRIA L. DENLINGER, CSR 14009
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